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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Western District
                                             __________        of of
                                                        District  Wisconsin
                                                                     __________


   DRIFTLESS AREA LAND CONSERVANCY et al.                      )
                             Plaintiff                         )
                                v.                             )      Case No. 19-cv-1007-wmc
                MICHAEL HUEBSCH et al.                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiffs Driftless Area Land Conservancy and Wisconsin Wildlife Federation                                    .


Date:          10/30/2020                                                              /s/ Catherine E. White
                                                                                         Attorney’s signature


                                                                            Catherine E. White (Wis. Bar. No. 1093836)
                                                                                     Printed name and bar number
                                                                                        Hurley Burish S.C.
                                                                                    33 E. Main Street, Suite 400
                                                                                        Madison, WI 53703

                                                                                               Address

                                                                                     cwhite@hurleyburish.com
                                                                                            E-mail address

                                                                                          (608) 257-0945
                                                                                          Telephone number

                                                                                          (608) 257-5764
                                                                                             FAX number
